
Robert E. Fields, III, Attorney at Law, Samuel Pinero, II, Attorney at Law, William A. Blancato, GAL Appellate Attorney, Leon E. Porter, Attorney at Law, Ellis B. Drew, III, Attorney at Law, Winston-Salem, For Sykes, Susan, et al.
Elizabeth L. Winters, Attorney at Law, Chad D. Hansen, Attorney at Law, Adam H. Charnes, Attorney at Law, Winston-Salem, For Blue Cross and Blue Shield of North Carolina
D. Erik Albright, Attorney at Law, Greensboro, For Cigna Healthcare of North Carolina, Inc.
Stephen D. Feldman, Attorney at Law, Raleigh, For Medcost LLC
Jennifer K. Van Zant, Attorney at Law, Greensboro
Benjamin R. Norman, Attorney at Law, Greensboro
W. Michael Dowling, Attorney at Law
The following order has been entered on the motion filed on the 10th of January 2019 for Peter M. Boyle to be admitted Pro Hac Vice:
"Motion Allowed by order of the Court in conference, this the 30th of January 2019."
